Case 01-01139-AMC Doc 24991-10 Filed 06/25/10 Page 1 of 30

EXHIBIT A

Written Responses

DOCS_DE:161322.1
Case 01-01139-AMC Doc 24991-10 Filed 06/25/10 Page 2 of 30

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Case 01-01139-AMC Doc 24991-10 Filed 06/25/10 Page 3 of 30

Pachulski Stang Zieh! & Jones LLP
919 North Market Street, 17" Floor
P.O. Box 8705
Wilmington, Delaware 19899-8705
Attn: James E. O’Neill

Mr. O’Neill,

I am formally writing to you in regards to the document entitled “Notice of Objection to
and Treatment of Employee Claim No. 1531” that was recently mailed to me. I would
like to object to the proposed disallowance of my Employee Claim on the basis that I
postponed the receival of money owed to me so it would be avialatle to me during my
retirement years. I believe that the existing Social Security funds will no longer be
available to me when I reach retirement age and I have tried to save as much as I can for
retirement. In summary, I do not support the Grace decision of asking the Bankruptcy
Court to “disallow” my Employee Claim.

Sincerely,
Anthony L, Thrasher

Case 01-01139-AMC Doc 24991-10 Filed 06/25/10 Page 4 of 30

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PACHULSH! STANG ZIEHE i JONES LLP
9/9 WORTH MAAHET STAERT (71H (LOR
P.0. BOX $105

NILMINGTON DELAWARE 19899-8705

ATIN: TAMES E. ONEILL,

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PISALLOWANCE OF EVIPLOYEE CLAL¢ POA MYSELF,
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Than You VERY much

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Pachulskt, Stang, Ziehl,

S AS PEA HM. JOWVES & Jones, LLP

Case 01-01139-AMC Doc 24991-10 Filed 06/25/10 Page 7 of 30

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE
in re: ) Chapter 11

)

W.R. Grace & Co., et al. Case No.0 -01139 (JKF)

(Jointly Ad ainistered)

Hearing Date : 10:30 am July 12, 2010

)

)
Debtors. )

) .

)

) Response Deadline: April 16, 2010

NOTICE OF OBJECTION TO DENIAL OF CLAIM NO. 5472

Pachulski Stang Zieh! & Jones LLP
919 North Market Street, 17" Floor
P.O. Box 8705

Wilmington, Delaware 19899-8705
Attn: James E. O’Neill

Dear Mr. O’Neill:

| am in receipt of a notice from W.R. Grace regarding the above noted proof of
claim filed in Grace’s bankruptcy case. Per the notice, this claim has been
characterized as an “Employee Claim” regarding benefits being claimed pursuant
to one or more of Grace’s existing plans, programs and policies regarding
employee bonuses and other compensation indemnity agreements or various
medical, insurance, severance, retiree and other benefits (collectively, the “Grace
Benefit Programs”). And as such, Grace has asked the Bankruptcy Court to
disallow this claim.

Please be advised that | object to the proposed disallowance of this claim. Claim
No. 5472 is NOT an “Employee Claim” pursuant to any “Grace Benefit Programs”
as described in the notice. Claim No. 5472 is a claim for payment for ordinary
services rendered during the period 9/04/2000 through 10/1/2000. At the time
Grace filed for bankruptcy, | had in my possession uncashed payroll checks
dated 9/14/2000, 9/28/2000 and 10/5/2000, in the aggregate amount of
$5,594.38. | believed that payment of these checks and/or their reissuance was
stayed by the Bankruptcy Proceeding. | therefore filed a proof of claim. As
previously noted, this claim is for services rendered to Grace prior to the
Bankruptcy for which payment has yet to be received which has been improperly
classified as an “Employee Claim” pursuant to a “Grace Benefit Program”

Case 01-01139-AMC Doc 24991-10 Filed 06/25/10 Page 8 of 30

You have requested that my name, address and telephone number must appear

in this objection to the denial of my claim. To that end, please be advised of the
following:

Debra Poole

(A LE Yl 0/ Bere
Case 01-01139-AMC Doc 24991-10 Filed 06/25/10 Page 9 of 30

!  FOwrepsrates BANKRUPTCY CouRT For Tue Distaict oF Delaware GRACE NON-ASBESTOS
‘ PROOF OF CLAIM FORM

Name of Debtor! WR. Grace & Co.~Conn Case Number 94-01179

NOTE: Do not use this form to assert an Asbestos Personal Injury Cinim, a Sectléd Ashestos Clatm or a Zanolite Attic
Tnsulation Claim, Those claims will be subject to 3 separate claims submission process, This form should also not be used

to file 2 claina for an Asbestos Property Damage Claim or Medical Monitoring Clalm. A specialized proof of claim form for
each of these claims shontd be filed.

Name of Creditor (The person or other entity to whom the Debtor check box if you are aware thet sayone
owes money or property): Oa eee epvareaeg” | Ths Seaceis ron Court UsOMLY
Debra Ann Poole glving pantievlare.
12 Check box ifyou have never recelved aay
oilecs from the bankniptey court in this
Name and address where notices should be sent: a wan
EF check box ifthe address differs from the
Debra Ann Poole ae oe
Com.
Account or other number by which creditor identifies Debtor; Check here C] reptaces
8002606200 Wahis claim O) amends s previously filed claim, dated:

Corporate Name, Common Name, and/or d/b/a name of specific Debtor against whom the claim is asserted:
W.R. GRace & Co. - Conn

1, Basis Sor Claim CQ. Retiree benefits as defined in 11 U.S.C. § 1114{2)
D Goods sold Wages, salaries, and compensation (fill ont below)
&X Services performed
O Environmental lability Your SS #:,
Q Money loaned Unpai ives
© Non-ssbestos personal injury/wrongful death eas eae OOO SPO 1 42000 gate
QO Taxes
O Other,

2. Date debt was incurred: 9/14/00,9/28/00, 10/05/00 _|3. If court judgment, date obtalned;
4, Tofal Amount of Claim at Time Case Filed $5,594.38
3all o¢ part of your claim Is secured of entitied to priority, afso complete Item 3 below.
© Check this bos If claim includes interest or other charges in addition to the principal emouat ofthe claim. Antach itemized stolement of all interes] or additional charges,

5. Ctossiffcation of Claim. Under the Bankraptey Code all claims are classified as one or more of the following: (1) Unsecured Nonpriority, (2) Unsecured
Priority, (3) Secured, It ts possible fox part of-a clalin ¢o be in one category'and part in another. CHECK THE APPROPRIATE BOX OR BOXES that best
describe your claim and STATE THE AMOUNT OF THE CLAIM AT TIME CASE FILED.

o SEM ore CLAIM {check this box if your claim is secured by coltateral, Including 0 UNSECURED PRIORITY CLAIM - Specify the priority of the claira.
a right of setoff)
O Wages, salaries, or commissions (up to $4650), camed not more than
Brief Description of Collateral: 90 days before filing of the bankaupicy petition or cessation of the
debtor's business, whichever is earlier - 11 U.5,C, § 507(@X3).
G Real Estate G Other (Describe briefly)

O Contributions to an employee benefit plan - 11 U.S.C, § 507(2)4).

Amount of orreamge and other charges at time case filed included in secuzed

clam above, ifany: $ G Taxes or penalties of goveramental units - 11 U.S.C. § 507(aX7}.

Amtach evidence of perfection of secunity In © Other « Specify applicable paragraph of 11 U.S.C. § 507(e(__}.
1X UNSECURED NONPRIORITY CLAIM Amount of the claim at time case
. wey . filec is Five Thousand Five Hundred
A claim is unsecured if there is no collateral or fien on of the : *
debtor securing the claim or to the extent that the value of euch . Ninety Four Dollars and Thirty Eigh
property is less than the amount of the claim. cents ($5,594.38)
6. Credits: The amount of all payments on this claim has been credited and deducted for the puspose of making this proof of claim. This Space is for Court Use Only

7. Svpporting Document: Auach copies of sunporting documents, such as promissory notes, purchase orders, invoices, itemized
statements of running accounts, contracis, couit judgments, mortgages, secunity agreements and evidence of perfection of lien.
DO NOT SEND ORIGINAL DOCUMENTS. If the documents aré not available, explain, If the documents are voluminous,
attach 6 summary.

8. Acknowledgement Upon receipt and processing of this Proof of Cisim, you will receive an scknowicdgemtent card indicsting
the date of filing and your unique claim number. Ifyou want a file stamped copy of the Proof of Claim form itself, enclose a self

“WRGrace ss BF.24.95. 4770"

00005472
SR=444

ddressed envelope and copy of this proof of claim form.

me 7 title, ifs: ‘or other per izedd to file this elsim (artach copy of power of AR 2 4 2003
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” See General Instructions and Claims Bar Date Notice and its exhibits for names ofall Debinrs and "other names” used by the Debtors.

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& Jones, LLP

Case 01-01139-AMC Doc 24991-10 Filed 06/25/10 Page 12 of 30

April 12, 2010

Pachulski Stang Zichl & Jones LLP

919 North Market Street, 17" Floor

P. O. Box 8705 2

Wilmington, Delaware 19899-8705 ee :

Attn: James E. O’Neill os o TUT pe

Reference: Case No. 01-01139 (JKF) Jointly-Administered
Susan E. Byers, :

Dear Mr. O’Neill,

I request that the Bankruptcy Court review my very serious objection to the proposed disallowance of my
employee claim against Grace because I filed a pension claim and an Asbestos Medical Monitoring claim,
and Grace assigned the same claim number to both. One claim was for unpaid pension prepared on Grace
Non-Asbestos Claim Form. Grace offered me a lump sump pension payment back in September 21, 1988 in
the amount of $9,034.35. This amount should have increased over the years. I mailed this claim as instructed .
to W. R. Grace & Co. Pension Service Center, P. O. Box 445, Arlington Heights, TL 60006-0445 and it was
received on November 9, 1998. The other claim was a W. R. Grace & Company, Asbestos Medical
Monitoring Proof of Claim Form — 3847101 207388. Refer to Part VI: Other Exposures to Asbestos
Materials or Products. I mailed this claim to Claims Processing Agent, Re: W. R. Grace & Co., Bankruptcy,
P, O. Box 1620, Faribault, MN 55021-1620 and it was received on March 14, 2003. Again, for some reason,
Grace gave my two claims the same claim number and every time correspondence is released about the case,
I receive two sets of identical information referring to the same claim number, i. e. Case No. 01-01139 (JFK)
but the packages are addressed slightly differently. From 2003, I have two green cards entitled Confirmation
of Receipt of Claim Form. Again, both reference claim number 01-01139. One card was mailed to address
CN 00003508 3-14-2003, Susan Elaine Byers, : m and the other green
card was mailed to address CN 00003507 3-14-2003, -

I was exposed to dangerous chemicals from products at Grace during my tenure from July 1979 to May
1993. I worked at a polystyrene plant at 6300 Button Gwinnett Drive in Doraville, GA. I was exposed to
Zonolite acoustical products, Mono-Kote 3-Acoustical MK3, Grace vermiculite in Grace AG products, attic
insulation, Darex cement and other products that were stocked there. As a sales coordinator, I went into the
plant daily. Grace had a very old inventory of these bagged products in 1979. Some products had already
been on the floor several years. The warehouse was in bad condition in those early years and the bagged
products sometimes busted and the fine chemical products became airborne in the plant.

I do have health concerns. I have already been diagnosed with lateral lung damage in both lungs. See the
attached recent report. I do not smoke and I have no other reason to believe this damage is from any other
source other than my exposure to chemicals at Grace.

I cannot and will not absolve Grace of my rights to claim 01-01139 (JFK) because it was assigned to both my
pension claim and my Asbestos Medical Monitoring claim. I trust you understand this concern.

Suan &. Bupa

Regards,
Susan E. Byers APR 16 2010
Ziehi,

Pachulski, Stunto
& Jones,

Attachment
Case 01-01139-AMC Doc 24991-10 Filed 06/25/10 Page 13 of 30

Rightfax 8/20/2010 1:24:30 4M PAGE 3/003 Fax Server

SAINTJOSEPHS — it

Finalized Report

* NAME: BYERS, Susan E ROOM: EMER

EXAM: CT ABDOMEN/PELVIS WO

DATE: 03/19/2010 10:54 PM DOB: 12/12/1955

ACC: 4014524
‘LINKED STUDIES: : oe
“ORDER PROVIDER: Qa
DATE OF EXAM: 03/19/2010 10:54 PM ,
CT OF THE ABDOMEN AND PELVIS

PROCEDURE: Axial images were obtalned from the lung bases through the ischial tuberasities with oral contrast only.
FINDINGS: The lung bases show some linear atelactaals to the right greater than left lower lobe. There are no pleural
effusion, nedules; masses or intersiltlal disease. The heart and thoracic aorta are unremarkabie,

ABDOMEN: The pancreas, splaan, adrenal glands, kidneys, stomach and imaged portions of the small and large bowal
are unremarkable, The patient shows scattened diverticulasis withoul diverticulitis. There is some moderate gastric
distention with aral contrast. The patient shows a focal fatty collection within the lateral abdominal wall on the right, with

the'éntlrely fatty density measuring 3.2 om.

PELVIS: The patient shows divertioulosia without divertioulitin. The uterus i¢ small, the adnexa are unremarkable. Thare
is no-ascites, the.retroperitoneum is unremarkable, and the patient shows no free fluld or hernia. The appendix is
unremarkable.

The imaged osseous structures are normal.

IMPRESSION:

DIVERTICULOSIS WITHOUT DIVERTICULITIS. LATERAL ABDOMINAL LIPOMA,

PROMINENT GASTRIC VOLUME WHICH COULD INDICATE SOME DELAYED GASIRIC EMPTYING: NOAGUTE: |. os.

PROCESS. 0 - -.

Dictating.Physician: TIMOTHY HANES, MD

- Dietated on: 63/49/2010 10:59 PM

Transcribed on: 08/19/2010 11:21 PM by Rhonda Beals, Transcriptionist
Finatized on: 03/19/2010 11:26 PM by TIMOTHY HANES, MD

Pago 1 of1
RADIOLOGY REPORT
Case 01-01139-AMC Doc 24991-10 Filed 06/25/10 Page 14 of 30

James McGuire

Attention: James E. O’Neill 4/7/2010
C/o Pachulsk, StangZiehl and Jones LLP

919 North Market Street

17" Floor

P.O. Box 8705

Wilmington, Delaware 19899-8705

Re. Case number 01-01139

Dear Mr. O’ Neill

This letter concerns a claim that I have filed against “W.R. Grace. Case number
01-01139.

Recently I received a Notice of Objection to and Treatment of Employee Claim No.
12926.

This Notice of Objection to and Treatment of Employee Claim No. 12926
had nothing to do with my claim.

Basically my claim was against Grace/Amicon. Before I left Amicon I tried to
apply for their “Disability Plan”. I was denied without any concrete reason.

The requirements to quality for this plan were:
1) I must be disabled.

I was in the middle of a mental breakdown, and was seriously
considering suicide.

2) I must have a note from a psychiatrist.
As I was seeing a Psychiatrist, a note would be forthcoming.
3) I must be receiving payment from ‘SSDI’.

It took me a while to do the paper work, and then I was accepted
by “SSDI.

Once “SSDI” accepted my application all of the above conditions were met.

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APR i2 2010
Pachulsii, Stang, 2 Zieh,

Case 01-01139-AMC Doc 24991-10 Filed 06/25/10 Page 15 of 30

Because I was denied a Plan for which I was qualified I am writing this letter in
response to the objection.

Thank You

James McGuire

Case 01-01139-AMC Doc 24991-10 Filed 06/25/10 Page 16 of 30

MAR 22 2010

Martin Bersaw

Grace Employee Service Center

Re, Case No. 01-1179
Grace Non — Asbestos Proof of Claim

To Whom It May Concern:

I filed the above-mentioned claim on March 11,2003. I was an employee of W.R. Grace
from December 1984 to April 1991. I am looking forward to the following benefits, when
I turn sixty-five:

1) A pension of approximately $ 200 per month
2) Medical, Dental insurance
3) Life Insurance to be paid to my beneficiary, after God calls me home

I am sending this letter is response to the recent “NOTICE OF OBJECTION TO AND
TREATMENT OF EMPLOYEE CLAIMS NO.S 3623,1833,3622.

Please note my hometown change its name from West Paterson to Woodland Park.
Please adjust your records accordingly.
Currently I am fifty-six. I will need the above first two benefits in another nine years.

Sincerely,

Wana pn Benaaut

Martin Bersaw

Ce. James E. O'Neill of Pachulski Stang Zieh! & Jones LLP
Case 01-01139-AMC Doc 24991-10 Filed 06/25/10 Page 17 of 30

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Case 01-01139-AMC Doc 24991-10 Filed 06/25/10 Page 18 of 30

Robert E. Sullivan

WR Grace Pension Service Center

Post Office Box 445

Arlington Heights, iL 60006-0445

Ce: WR Grace & Company Human Resources

To whom it may concern:

While employed by WR Grace, | received several estimates for hourly benefits from the
Grace Retirement Plan indicating that | would receive a pension after retirement for my
hourly years. Since my retirement | have received a document from a bankruptcy
court explaining that | have a claim for over $75,000.00 against the WR Grace
Retirement Plan for Hourly Employees. There are records on file at WR Grace qualifying
me for this benefit; however | have been denied disbursement.

At this time, | would like to request payment for my monthly pension based on my hourly
employment at WR Grace & Company. If my qualification is still being disputed | would
like to request a detailed explanation of why my benefits are being denied. Swift
resolution of this problem would be greatly appreciated.

Respectfully, ;
p wher é Sele on

Robert E. Sullivan

Enclosures (13)
Case 01-01139-AMC Doc 24991-10 Filed 06/25/10 Page 19 of 30

Your Response Deadline: April 16, 2010

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE
In re: Chapter 11
W. R. Grace & Co., et al. Case No. 01-01139 (JKF)
(Jointly Administered)
Debtors.

Hearing Date: 10:30 a.m., July 12, 2010
Response Deadline: April 16, 2010

NOTICE OF OBJECTION TO AND TREATMENT OF EMPLOYEE CLAIMS NOS.
5464, 7590, 7591, 7514, 7513, 5465, 5504, 5505

SULLIVAN, ROBERT E

Dear: SULLIVAN, ROBERT E:

W.R. Grace & Co. (“Grace”) is providing this Notice to you regarding the proofs of claim you
filed in Grace’s bankruptcy case (your “Employee Claims”) regarding benefits you are claiming pursuant
to one or more of Grace’s existing plans, programs, and policies regarding employee bonuses and other
compensation, indemnity agreements or various medical, insurance, severance, retiree and other benefits
(collectively, the “Grace Benefit Programs”).

Copies of your Employee Claims are attached to this Notice for your reference. Any attachments
you may have submitted with your Employee Claims are not attached to this Notice. Please note that this
Notice and the procedures described herein shall not affect any other claim that you may have filed in
these chapter 11 cases other than the Employee Claims attached to this Notice.

Grace’s books and records show that, as of April 2, 2001, the date on which Grace commenced its
bankruptcy case, you were either a current employee, former employee or a beneficiary of a former
employee of Grace. As such, you were entitled to receive certain benefits (your “Applicable Employee
Benefits”) from one or more Grace Benefit Programs (including, but not limited to, salary and other
compensation).

Please note that, prior to Grace’s bankruptcy case,-your Applicable Employee Benefits were
subject to amendment, modification or termination under the terms of the applicable Grace Benefit
Program or under applicable non-bankruptcy law. These limitations are referred to in this Notice as the
“Non-Bankruptcy Limitation”. This Non-Bankruptcy Limitation to your Applicable Employee Benefits
has continued while Grace is in bankruptcy, and will continue to exist after Grace emerges from
bankruptcy.

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Case 01-01139-AMC Doc 24991-10 Filed 06/25/10 Page 20 of 30

* * * * *

PLEASE NOTE

You do not need to respond to this Notice. The Bankruptcy Court’s entry of the proposed order
will not affect your Applicable Employee Benefits (which are subject to the Non-Bankruptcy Limitation),
including, but not limited to salary and other compensation that you are now receiving, and have been
receiving since Grace commenced its bankruptcy case, and will continue to receive after Grace emerges
from bankruptcy on the Effective Date.

If you believe that you have not been receiving all benefits to which you are entitled, or if-you
have a question about your Applicable Employee Benefits, you do not need to respond to this Objection
to preserve your rights or to have your question answered. You should instead contact Grace directly to
discuss the benefits to which you believe that you are entitled, but have not been receiving. You may
contact Grace at the Grace Employee Service Center in any of the following ways:

Telephone: Grace’s toll-free number: 1-800-974-2363
E-mail: E-mail address: Grace_Bankruptcy_Notice_Inquiry@aon.com
Facsimile: Facsimile number: 1-847-953-2348
By mail: Mailing address: Grace Employee Service Center
Post Office Box 445

Arlington Heights, TL 60006-0445

When you contact Grace by any of the above-described methods, please include your name and
address, a daytime telephone number and (if you have one) an e-mail address. This will allow a Grace
representative to contact you.

* * * * *

PROCEDURES FOR FILING A WRITTEN RESPONSE TO THE OBJECTION

If you wish to object to the proposed disallowance of your Employee Claims, you must file a
written response by mailing it to this address (postmarked prior to the response deadline).

Pachulski Stang Zieh] & Jones LLP
919 North Market Street, 17th Floor
P.O. Box 8705

Wilmington, Delaware 19899-8705
Attn: James E. O’Neill

Responses sent by facsimile will not be treated as “written responses”. You must file your written
response by mailing to the address listed above for the law firm of Pachulski Stang Ziehl & Jones LLP.

Your response must be postmarked on or before the response deadline. The response deadline is
April 16, 2010.

5 1971
Case 01-01139-AMC Doc 24991-10 Filed 06/25/10 Page 21 of 30

UNITED STATES BANKRUPTCY CourT For THE District oF Delaware

GRACE NON-ASBESTOS
PROOF OF CLAIM FORM

Name of Debtor’ W. R. GRACE & CO.-et al

Case Number 01-01139

Insulation Claim. Those clai te claims

to file a claim for an Asb

wilt be subject toa
Property D;
Id_be filed.

NOTE: Do not use this form to assert an Asbestos Personal [njury Claim, a Settled Asbestos Cialm or a Zonolite Attic
P process. This form should also not be uscd
ge Claim or Medtcal Monlroring Claim. A specialized proof of claim form for

each of these claims sh
sachs

Name of Creditor (The person or other entity to whom the Debtor
owes money or property): :

ROBERT E. SULLIVAN

01 Cheek bos ifyou are aware that anyone
else has filed a proot of claim relating to
your claim. Attach copy of stalement
giving puniculars.

THIS SPACE 5S FoR CourT USE OXLY

Name and address where notices should be sent:

ROBERT E. SULLIVAN

O) Check box if you huve never received any
notices from the bonkrupicy court in ibis
cure,

DD Check box ifthe audtess differs froin the
address on the envelope sent to yuu by the
court,

Account or other number by which creditor identifies Debtor:

N/A

Chect here OF replaces
Wuils chim CF menus a previously Med claim, dated:

eT

W. R. GRACE & CO.-CONN,

Corporate Name, Common Name, and/or d/b/a name of specific Debtor against whom the claim is asserted:

Il, Basis for Claim
O Goods sold
Q Services performed
1 Environmental liability
O Money loaned
C1) Non-ashestos personal injuryAvrongful death

Taxes PENSION

Other,

G > Retirce benefits as detined in 1 U.S.C. § 1154q)
O Wages, salaries, and compensation (fill out below)
UNpULE COMPENSATION 1OT SCTVICNS PoTIOTAICE

from to (date)

2, Date debt was incurred: VARIOUS

3. If court judgment, date obtuined: N / A

4. Total Amount of Claim at Time Case Filed:
Mf all oe part of your clalm is secured or entitled ta priority, also complete lteni 5 below,

Cheek this box if claim includes Interest or other cbarges In addition to the principal smaunt of the claim, Atch itemized statement of all interest or additions) charges,

s_ 16,982.40

© SECURED CLAIM (check this box if your claim is secured by collateral, including

a right of setolf.)
Brief Description of Collateral:
© Real Estate © Osher (Describe briefly}

Amount of arrearage and other charges at time case filed included in secured
claim above, ifany: S.

Asuch evidence of perfection of security interes.
0 UNSECURED NONPRIORITY CLAIM
A claim is unsecured if there is no collatcral or lien on property of the

debtor securing the claim or to the extent that the value of such
property is less than the amount of the claim.

§. Classification of Claim. Under the Bankruptcy Code all claims are classified as one or more of the following: (t) Unsecured Nonpriority, (2) Unsecured
Priority, (3) Sceured. It is possible for part of a claim to be [n one category and part in another. CHECK THE APPROPRIATE BOX OR BOXES that best
deseribe your claim and STATE THE AMOUNT OF THE CLAIM AT TIME CASE FILED,

DB UNSECURED PRIORITY CLAIM - Specify the priority of the claim.
O Wages. salaries, or commissions (up to $4650). earned not more than
90 days before fiting of the bankruptcy petition or cessation of the
debtor's business, whichever is earlier - 11 U.S.C. § 507(aX3)-
Ki Contributions to an employee benefit plan - $1 U.S.C. § 507(aK-H.
O Taxes or penalties of governmental units - 1] U.S.C. § 507{aX7).
X Other - Specify applicubte parayraph of 11 U.S.C. § 507Gu, }

CLAIM FOR PENSION BENEFIT PAYABLE
AT RETIREMENT FROM W.R. GRACE & CO.
eTTRENENT PLAN FOR HOURLY EMPLOYEES

6. Credits: The amount of al) payments on this claim has been credited and dedi

d for the p

pose of making this proof of claim.

7. Supportiig Documents: Atach copies of supnorting documents, such as promissory notes, purchase orders, invoices, itemized
* runni — f

This Space is for Court Use Only

anach # summary.

addressed envelope and copy of this proofof claim form.

o 2 tS, court judg ges, Security agi
DO NOT SEND ORIGINAL DOCUMENTS. If the documents sre not available, explain. If the documents are voluminous,

8. Acknowledgement: Upon receipt and processing of this Proof of Claim, you will receive an acknowledgement card indicating
the date of filing and your unique claim number. Wf you want a file stamped copy of the Proof of Claim form itself. enclose a self

and evidence of perfection of lien.

Sign and paiat the nume and title, ifeny, of the creditor or other petson authorized to file this claim (atlach copy of power of atamey, IC any);

"WRGrace-‘BF.24.96.4751
00005504
| SRe444

ATTACHMENTS: STATEMENTS OF ESTIMATED PENSION BENEFITS AND COPY OF PENSON
SECTON OF GRACE EMPLOYEE MANUAL.

" See Generat Instructions and Claims Bar Date Notice aud its exhibits for names of of] Debtors and “other names” used by HEBEL J VED) MAR 2 4 2883
wt

Case 01-01139-AMC Doc 24991-10 Filed 06/25/10 Page 22 of 30

UNITED STATES BANKRUPTCY Court For THE DistRICT oF Delaware

GRACE NON-ASBESTOS
PROOF OF CLAIM FORM

Name of Debtor’ W. R. GRACE & CO.-et al

Case Number 01-01139

cach of these claims should be filed.

NOTE: Do not use this form to assert on Ashcotos Personal Injury Claim, a Settled Asbestos Claim or a Zonolite Attic
Insulation Claim. Those elaims will be subject to a separate claims submission process. This farm should also not be used
to file a clalm for an Asbestos Property Damage Claim or Medical Monitoring Claim, A specialized proof of claim form for

Name of Creditor (The person or other entity to whom the Debtor
Owes money or property):

ROBERT E. SULLIVAN

Cheek box if you are aware that asyone
ebsy bas filed » proof of claim relating to
your claim, Attach copy of statement
giving punicutars,

O check box if you have never eeceived any

This Space is FoR Cour Use Oxy

Name and address where notices should be sent:

ROBERT E. SULLIVAN

notices from the bankruptcy court in this
Case,

1 Cheek bas ifthe address differs from the
adiress on the envelope sent to you by the
court,

Account or other number by which creditor identifies Debtor:

N/A

Check here ceplaces

if dhs cluiar C1 amends a previvusly filed claim, is

Corporate Name, Common Name, and/or d/b/a name of specific Debtor against whom the claim is asserted:

O Services performed

O Environmental liability

O Money toaned

O Non-asbestos personal injury/wrongfu) death

dn, PENSION

W. R. GRACE & CO.-CONN.
1. Basts for Claim QO Retiree benefits as defined in 11 U.S.C. § Bt 14{2)
Q Goods sold GB Wages, salaries, and compensation (fill out below)

Your SS 4
Unpaid cormpensauon tor services pertormed

from to (date)

2, Date debt was incurred: VARIOUS

N/A

| 3. If court Judg: » date obtained:

4. Tota) Amount of Claim at Time Case Ffied:
{fall or part of your claim is cecured oF enlilledto Priority, olso complete (tem 5 below,

Cheek this box if clair includes interest or other charges in addition to the principal amount of the claim, Atuach itemized simement of all interest or additional charges,

576,982.40

8 right of setoff.)
Brief Description of Collateral:
© Real Estate O Ohher (Describe briefly)

Aouount of arrearage and other charges at tic cuse filed included in secured
claim above, if any: S$.

Adach evidence of perfection of security interest
O UNSECURED NONPRIORITY CLAIM
A claim is unsecured if there is no coltateral or lien on property of the

debtor securing the claim of to the extent that the value of such
property is less than the amount of the elaim,

5. Classification of Claim, Under the Bankruptcy Code all claims are classified as one or more of the following: (1) Unsecured Nonpriority, (2) Unsecured
Priority, (3) Secured. It is possible for part of a claim to be tn one category ond part In another, CHECK THE APPROPRIATE BOX OR BOXES that best
describe your clalm and STATE THE AMOUNT OF THE CLAIM AT TIME CASE FILED.

© SECURED CLAIM (check this box if your claim is secured by collateral, including

O UNSECURED PRIORITY CLAIM - Specify the priority of the claim.

O Wages, salaries, or commissions (up to $4650), eamed not more than
90 days before filing of the bankrupicy petition or cessation of the
uebtor’s business, whichever is earlier - 11 U.S.C, § 507(aX3).

& Contributions to an employee benefit plan - 11 U.S.C. § SO%{nyf4).
O Taxes or penalties of yovernmeml units - 1] U.S.C. § 507(ax7).

Hi Other - Specify applicable paragraph of (3 U.S.C. § S507(a(___
CLAIM FOR PENSION BENEFIT PAYABLE
AT RETIREMENT FROM W. R. GRACE &CO.
RETIREMENT PLAN FOR HOURLY EMPLOYEES

attach a summury,

addressed envelope and copy of this fof claim form.

6. Credits: The amount of all payments on this claim has been credited and deducted for the purpose of making this proof of ctaim.

7. Supporting Documents: diuch copies of supporting documents, such as promissory notes, purchase orders, invoices, itemized
f runni ft court judgments, mortgayes, security agreements and evidence of perfection of lien.

o ig accounts,
DO NOT SEND ORIGINAL DOCUMENTS. if the documients are not available, explain. tf the documents arc voluminous,

8. Acknowledgement: Upon receipt and processing of this Proof of Claim, you will reccive on acknowledgement card indiguu
the date of filing and your unique claim number, If you want a file stanped copy of the Proof of Claim form itself, ench

This Space is for Court Use Only

Sign and print the name ant tile, if uny of the creditar ar other person authorized tn (ile this claims {attach copy of power of starney, ifsnyh:

“ATTACHMENTS ; STATEMENTS OF ESTIMATED PENSION BENEFITS AND COPY OF PENSION

SECTON OF GRACE EMPLOYEE MANUAL.

See General Instructions and Claims Bar Date Notice and its exhibits for names of all Debtors and “other names” used by the Debtors.
Case 01-01139-AMC Doc 24991-10 Filed 06/25/10 Page 23 of 30

Unite STaTes BANKRUPTCY CourT For THE DisTRICT of Delaware

GRACE NON-ASBESTOS
, PROOF OF CLAIM FORM

Name ofDebtor:'W, R. & CO.-et al Case Number 01-01139

NOTE: Do not use this form to assert an Asbestos Personal Injury Claim, x Settled Asbestos Claim or a Zonolite Attic

Insulation Claim. Those claims will be subject to a separate claims submission process. This form should also not be used

to file a claim for an Asbestos Property Damage Claim or Medical Munttoring Claim. A specialized proof of claim form for
each of these claims should be filed.

1 Cheek bos if: ‘you are aware that snyane
else hus Mled 3 proof of clutns relyting to
your claim. Attach copy uf‘statement
giving particulars:

D1 Cheek box ifynu have never recived eny

. notices frum ibe banknipicy enunt In this
Name and address where notices should be sent: euke,

C1 check bxifthe address differs front
ROBERT E. SULLIVAN ‘hikescon heel vent oy

address on the covelope aunt te you dy the
wourt.

Name of Creditor (The person or other entity to whom the Debtor
owes money or property);
ROBERT E. SULLIVAN

Tuss SPACE 1s FOR CourT USE OLY

Account or other number by which creditor identifies Debtor: Cheek here O reptsces

N/A itthiy elain © uneads 2 previvusly filed claim, vated:

Corporate Name, Common Name, and/or d/b/a name of specific Debtor against whom the claim is asserted:

W, R. GRACE & CO.-CONN.

1, Basis for Claim

O Retiewe benefits us defined in 11 U.S.C. § 1h t4(a)

O Goods sold O Wages, salaries, and compensation (fill out below}
O Services performed
© Environmental liability Your SS #:,
© Maney loaned Unpaid compensation for services performed
Q Non-asbestos personal injury/wronglul death framt to
Taxes

(diate)

2. Date debt was incurred: VARTOUS

| 3. Ucourt judgment, dute obtained: N/A

4. Total Amount of Claim at Time Case Filed: si 6,9 82.40
(Call or past of your claimn is secured or entitled in priority, also complete Item 5 below,
T1 cheek this box iCelaim includes interest or other charges In addition to the principal amuunt of the cluim. Attach Hemized statement of ail interest or additional charges.

describe your claim and STATE THE AMOUNT OF THE CLAIM AT TIME CASE FILED.

O SECURED CLAIM (check this box if your claim is d by collateral, includi
aright of setoff.)

Brief Description of Collateral:

© Real Estate Q Other (Describe briefly)

Anount of arrearage and other charges at time case Gled included in secured
claim above, ifany: Sw

Attach evidence of perfection of security interest

§. Classification of Claim. Under the Bankruptcy Cade all claims are classified as one or more of the following: (1) Unsceured Nonpriority, (2) Unsecured
Priority, (3) Secured. It $s possible for part of u claim to be in one category and part in another. CHECK THE APPROPRIATE BOX OR BOXES that best

G UNSECURED PRIORITY CLAIM - Specify the priority of the claim.
O Wages. salaries. or commissions (up to $4650), earned not more than
90 days before filing of the bankruptcy petition or cessation of the
debtor's business, whichever is earlier « 11 U.S.C. § $07(ax3).
& Contrivutions to an einployee benefit plan - 1! ULS.C. § 507G1(4).
0 Taxes or penalties of governmental units - 11 U.S.C, § S07(aX7).

& omer - Specify applicuble paragraph of EL U.S.C, § 507fal__

© UNSECURED NONPRIORITY CLAIM

A claim is unsecured if there is no catiatcral or lien on property of the

CLAIM FOR PENSION BENEFIT PAYABLE
AT RETIREMENT FROM W.R. GRACE & CO.
RETIREMENT PLAN FOR HOURLY

deblor securing the claim or to the extent that the value of such
property is fess than the amount of the claim.

EMPLOYEES.

6. Credits: The amount of all payments on this claim has been credited ond deducted for the pumose of making this proof ef clin.

7. Supporting Documents: rach voples of supporting documents, such as promissory notes, purchase orders, invoices, itemized
statenients of running accounts, contracts, court judgments, mortgages, security agreements and evidence of perléction of lien.
DO NOT SEND ORIGINAL DOCUMENTS. If the documents are not available, explain. If the documents are voluminous,
attach 2 summary.
8 Acknowledgement: Upon receipt and processing of this Proof of Claim, you will seceive an acknowledgement curd indicating
the date of filing md your unique claim number. If you want a file stamped copy of the Proof of Claim form itself. enclose a self
and

slime Styeen,

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addressed envelo, of this proof of claini form, WR Grace BF.30.120.5992
Sign and print the name and eithe, ey of the creditor ar other person authorizes to fite this clainy (sttuch copy of pawer of attumey, il anyk 00007590
Frobear E, Susu an SR=838

ATTACHMENTS :

RECD MAR 27 2003

STATEMENTS OF ESTIMATED PENSION BENEFITS AND A COPY OF
PENSION SECTION FROM GRACE EMPLOYEE MANUAL.

' See General Instructions and Claims Bar Date Notice and its exhibits for names of all Debtors and “other names” used by the Debtors.

Case 01-01139-AMC Doc 24991-10 Filed 06/25/10 Page 24 of 30

*
UNITED STATES BANKRUPTCY CouRT For THE District or Delaware GRACE NON-ASBESTOS
“ PROOF OF CLAIM FORM
Name of Debtor’ W. R. GRACE & CO.-et al Case Number 01-01139
NOTE: Do not use this form to assert an Asbestos Personal Infury Claim, a Settied Asbestos Claim or a Zonolite Attic
Insulation Claim. Those clalms will be subject to a separate claims submission process. This form should also not be used
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each of ihese claims should be fited.
Name of Creditor (The person or other entity to whom the Debtor oO Chee bor Ifyou ar avare that anyone
' b im relati

owes money or property): your elaim, Attach copy of saneaxat Tits SPACE 18 FOR Count Usk ONLY
ROBERT E « SULLIVAN giving particulars,

O cheek bor if you have never received any

. autices fen the banksupsey court in thi

Name and address where notices should be sent: “0

O Check box ifthe address ditfers frun the
RO BERT E . SULLI VAN address on the envelope sent to yuu by the

cnud.
Account or other number by which creditor identifies Debtor: Cheek bere OO explaces
N / A if hia claim © amewtso previously filed claim, dateu:,

Corporate Name, Common Name, and/or d/b/a name of specific Debtor against whom the claim is asserted:

W. R. GRACE & CO.-CONN,

1. Basis for Claim O Retiree benctits as defined in 11 U.S.C. § 1) 14(a)
Q Goods sold D Wages, salaries, and compensation (fill out below)
© Services performed
QO Environmental liability Your SS t
© Money {oaned Unpaid compensation for services performed
© Non-asbestes personal injury/wrongful death from to (dater

ks PENSION

2. Date debt was incurred; VARLOUS 13. If court jud date obtained: N/A

4. Total Amount of Claim ut Time Case Filed: s456 : 147.00
Tall os part af your claim Is sceured or entitled to priority. also complete item 4 below.
DF Cheek this box If claim includes interest or other charges in addition to the principal atnount of the claim. Attoch ltenvized statement of all interest or additional elurges.

S. Classification of Claim. Under the Bankruptcy Code all claims are classified as one or more of the following: (1) Unsecured Nonpriarity, (2) Unsecured
Priority, (3) Sccured. It is possible for part of a claim to be in onc category and part in another. CHECK THE APPROPRIATE BOX OR BOXES that best
describe vour claim and STATE THE AMOUNT OF THE CLAIM AT TIME CASE FILED.

0 SECURED CLAIM (check this box if your claim is secured by collateral, including G UNSECURED PRIORITY CLAIM - Specify the priority of the claim.

a right of sctoff.)
. O Wages, salaries, or commissions (up to $4650), eamed not more than
Brief Description of Collateral: 90 days before filing of the bankruptcy petition or cessation of the
debtor's business, whichever is earlier - 11 U.S.C. § 507ax3).
© Real Estate © Other (Describe briefly)

&K Contributions to an employee benefit plan - 11] U.S.C. § 20NaX4).

Amount of arrearage and other charges at time case filed included in secured

n r O Taxes or penalties of governmental units « 11 U.S.C. § 507(aX7).
claim above, ifany: S.

Attach evidence of perfection of security interest . UK Other - Specify applicable paragraph of 13 U.S.C. § S07(a¢,
(CLAIM FOR PENSION BENEFIT PAYABLE
AT RETIREMENT FROM W. R. GRACE & CO.
A claim is unsecured if there is no collateral or Tien on property of the RETIREMENT PLAN FOR SALARIED
]

debtor securing the claim or to the extent that the value of such

QO UNSECURED NONPRIORITY CLAIM

property is less than the aniount of the claim. EMPLOYEES .
6, Credits: The amount of all payments on this claim his been credited and deducted for the purpose of making this proof of chim, This Space is for Court Use Only
7. Supporting Ducument: duech copies of supporting docunrents, such as promissory notes, purchase orders, ices. itemized
statements of running accounts, contracts, court judgments, Wages, sccurity agn und evidence of ie of lien.
DO NOT SEND ORIGINAL DOCUMENTS. IF the documents are not available, explain. If the di ts ary voluminous,
attach a summnry.
8. Acknowledgement: Upon reccipt and processing of this Proof of Claim, you will receive an acknowledgement catd indicating

the date of filing and d Your unique claim number. If you want a file stamped copy of the Proof of Claim form itself. enclose a self WR Grace BF.30.120.5993

addressed envel and copy of this proof of claim form. 00007591

Es nume and title, if any of the crediter or other pe A, on. to file this elaim (attach copy*af power of stromey, If any): SR=538
a &, Qutlew | Cus Tome Savres

all Fad se OF PENSION SECTION FROM GRACE EMPLOYEE MANUAL, AND

STATEMENTS OF ESTIMATED PENSION BENEFITS.

" See General Instructions and Claims Bar Date Notice and Reciy AR OFA i" oames" used by the Debtors.

Case 01-01139-AMC

ROBERT E. SULLIVAN

Re: Grace Retirement Plan

Dear Mr. SULLIVAN:

Doc 24991-10 Filed 06/25/10 Page 25 of 30

W. R. Grace Pension Service Center

Post Office Box 445

Arlington Heights, IL 60006-0445

1-800-974-2363

We are providing an ESTIMATE of your Pension Plan benefits. Please remember that this is only an ESTIMATE and is based on the
Retirement Plan now in effect, and may include some assumptions (e.g., your service and interest rates), Your ESTIMATED benefits
and the assumptions used to calculate them are shown below. If any of the assumptions shown are incorrect, please contact the W.R.
Grace Service Center. Also enclosed with your estimate is your General Benefit Information and Special Tax Notice. Please read both
of these in their entirety for important additional information.

Assumptions Used in Calculation:

Date of Termination of Employment:

Retirement Date:
Credited Service:

Date of Birth:

Marital Status:
Spouse’s Name:
Spouse’s Date of Birth:

Estimated Benefits for December 01, 2005 Commencement Date:

Single Life Annuity

10 Year Certain & Life Annuity
50% Joint & Survivor Annuity

Level Income Before Age 62
Level Income After Age 62

12467

October 28, 2005
December 01, 2005
9,0000

August 24, 1945

Married

MARTHA L. SULLIVAN
March 29, 1950

Estimated Social Security Benefit:

$196.83

$186.02
$172.23

$1,274.83
$42.83

$1,643.00.
Case 01-01139-AMC Doc 24991-10 Filed 06/25/10 Page 26 of 30

11/03/2005
ROBERT E. SULLIVAN
059001 .

As of November 03, 2005 you are vested in your Retirement Plan benefit. If you have any questions or need additional information,
please cal] the W.R.Grace Pension Service Center at 1-800-974-2363.

Sincerely,

W. R. Grace Pension Service Center
Case 01-01139-AMC Doc 24991-10 Filed 06/25/10 Page 27 of 30

W.R. GRACE & CO.
Retirement Plan for Hourly Employees -Chemical Group
Name: Robert Sullivan DOB: 08/24/1945
Spouse DOB: 03/29/1950
DOH: 12/16/1963 Retirement Date: 09/01/2007

As requested, we are providing an ESTIMATE of your Grace Retirement Plan benefits as of a retirement
date of 09/01/2007. Please remember that this is only an ESTIMATE and is based on the Retirement Plan
now in effect and may include some assumptions (e.g., your service). The final determination of benefits
will be made through formal review of your history and other aspects of the calculation after your
termination of employment.

The following represents ESTIMATES of the monthly benefit amounts you would be entitled to receive
as of the retirement date listed above under the various optional forms of payment available in the Plan:

TO SPOUSE UPON DEATH OF
TO EMPLOYEE EMPLOYEE
Straight Life Annuity $ 213.84 $ 0.00
50 % Joint & Survivor 5 185.40 $ 92.70
10 Year Certain & Life $ 199.79 $ 199.79 *

* For the remaining 10 year certain period, if employee received less than 120 payments.

As of 10/31/2002, you are vested in your Retirement Plan benefit. If you have any questions or need any
additional information, please feel free to call our toll-free benefits hotline at 1-800-974-2363.

Date Processed: 10/31/2002 Plan Formula Code: 059-001
Case 01-01139-AMC Doc 24991-10 Filed 06/25/10 Page 28 of 30

Name: Robert Sullivan Date of Termination: 03/31/2007
Date of Retirement: 04/01/2007
Date Prepared: 03/13/2007

Retirement Plan Benefit ESTIMATE

W. R. Grace & Co, Retirement Plan for Hourly Employees

Level Level
Income Income On
Straight Life 10 Year Before Age & Post Age
Annuity 50% J&S Gertain 62 62
$243.00 $243.00 $243.00
Early Retirement: 0.8633 0.8633 0.8633
$209.78 $209.78 $209.78
Optional Benefits to Retiree: 1.0000 0.8670 0.9370

$209.78 $181.88 $195.58 $4,503.40 £168.40
Survivor Portion to Beneficiary: N/A 0.5000 1.0000 N/A N/A
N/A $90.94 $196.56 N/A N/A
Case 01-01139-AMC Doc 24991-10 Filed 06/25/10 Page 29 of 30

W. R. Grace Pension Service Center
P.O. Box 445
Arlington Heights, IL 60006-0445
1-800-974-2363

March 30, 2000

Mr, Robert Sullivan

W. R. GRACE & CO. RETIREMENT PLAN CHEMICAL GROUP (HOURLY EMPLOYEES)

Dear Mr. Robert Sullivan:

Our records indicate that at the time of your termination of employment, you had met the
eligibility requirements for a Vested Retirement Benefit. The following provides a summary of
your vested benefits and what you need to do to be sure payments start when you wish.

You are entitled to a monthly retirement benefit in the amount of $ 207.00 at age 65. This
benefit is payable on a Straight Life Annuity basis (i.e., all payments will cease upon your
death).

RETIREMENT BENEFITS

You may elect to have your benefits paid on a reduced basis beginning the first day of any
month on or after your 55th birthday. If benefits commence prior to age 65, your monthly
lifetime benefit will equal the following percentage of your age 65 benefit:

Age 65 64 63 62 61 60 59 58 57 56 55

Benefit Percentage 100% 96% 92% 88% 84% 80% 76% 72% 68% 64% 60%
Payable

For example, if you elect to have benefits start at age 55 on a Straight Life Annuity basis, your
monthly lifetime benefit would equal $124.20 ($ 207.00 x .60).

You should notify us when you would like to begin receiving your plan benefits Before your
retirement benefits commence, you will be provided with detailed information on the optional
forms of payment available.

If you are 62 or over, you should also contact the Social Security Administration at least three
months before you want your Social Security payments to start.
Case 01-01139-AMC Doc 24991-10 Filed 06/25/10 Page 30 of 30

W. R. Grace Pension Service Center
P.O. Box 445

Arlington Heights, IL 60006-0445
1-800-974-2363

PRE-RETIREMENT DEATH PROTECTION

The W. R. Grace & Co. Retirement Plan for Chemical Group (Hourly Employees) provides pre-
retirement survivor protection for your spouse both before and after you reach age 55. This
coverage is provided automatically (no action on your part is required) and at no cost to you.

This automatic 50% Joint and Survivor benefit will be payable to your spouse if you should die
before your retirement benefits are scheduled to begin and if you have been married throughout
the one year period prior to your death. The benefit payable to your spouse will equal 50% of
the benefit that would have been payable to you at the time of your death reduced to reflect the
Joint and Survivor Option and, if you are under age 55, actuarially reduced for each month that
benefits begin before you would have reached age 55.

UPDATING YOUR RECORD

This letter and the enclosed form should be retained with your important papers. It is
imperative that the Administrative Committee be notified of any change in your address. A
“Notification of Change” form is enclosed. This form can also be used to request information
regarding your benefit or to have benefits commence.

We realize that the informaion in this letter is complex and, therefore, we encourage you to
direct any questions you may have to our attention.
If you have any questions about your benefit, please call 1-800-974-2363.

Sincerely,

W.R. Grace Pension Service Center
